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                                                        U.S.DjSTRICTCOURf
               IN THE UNITED STATES DISTRICT COURT
                  THE SOUTHERN DISTRICT OF GEORG^O^ HAY 15 AMIh23
                           SAVANNAH DIVISION

                                                      CLEf
UNITED STATES OF AMERICA,                                    SO.DiST. OFGA.


V.                                             Case No.       CR417-208


EUGENE ALLEN,
                  Defendant.




      Bruce S. Harvey counsel of record for defendant Eugene Allen

in the above-styled case has moved for leave of absence.            The Court

is mindful that personal and professional obligations require the

absence   of    counsel on occasion. The Court, however, cannot


accommodate its schedule to the thousands of attorneys who practice

within the Southern District of Georgia.

      Counsel may be absent at the times requested. However, nothing

shall prevent the case from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and            trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.



      so ORDERED this /J        day of May 2018.




                                   WILLIAM T. MOORE          JR., JUDGE
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF GEORGIA
